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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA

                         Civil Action Number: 8:16-cv-03059-EAK-AAS

                                                   :
 Amanda Vazquez,                                   :
                                                   :
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
 Aaron's, Inc.; and DOES 1-10, inclusive,          :
                                                   :
                        Defendants.                :
                                                   :


             NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                     DISMISSAL OF ACTION WITH PREJUDICE
                            PURSUANT TO RULE 41(a)


        Amanda Vazquez (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint
 and voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

 Dated: May 18, 2017

                                               Respectfully submitted,
                                               By     /s/ Stan Michael Maslona
                                               Stan Michael Maslona, Esq.
                                               Florida Bar No. 86128
                                               LEMBERG LAW, L.L.C.
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                                               ATTORNEYS FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 18, 2017, a true and correct copy of the foregoing Notice of
 Withdrawal was served electronically by the U.S. District Court for the Middle District of
 Florida ECF system.

                                              By_/s/ Stan Michael Maslona____

                                                   Stan Michael Maslona, Esq.
